Case 2:16-cv-00053-LEW Document 171 Filed 02/17/21 Page 1 of 3                   PageID #: 1566




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

 LAWRENCE ROLAND OUELLETTE,                 )
 of Biddeford, York County, Maine,          )
                                            )
 Plaintiff,                                 )
                                            )
 v.                                         )
                                            )
 NORMAN GAUDETTE, in his                    )
 Individual Capacity,                       )         Civil Action No.: 2:16-CV-53-LEW
 ROGER BEAUPRE, in his Official             )
 Capacity as Chief of Police for the        )
 Biddeford Police Department and in his     )
 Individual Capacity, and CITY OF           )
 BIDDEFORD,                                 )
                                            )
 Defendants                                 )

                                    NOTICE OF APPEAL

        Notice is hereby given that Defendants Roger Beaupre and the City of Biddeford appeal

to the United States Court of Appeals for the First Circuit from the Order entered on February

12, 2021, ECF Docket No. 167.


      DATED at Portland, Maine, this 17th day of February, 2021.


                                     /s/ Timothy J. Bryant_________________________
                                     Timothy J. Bryant, Esq. (Bar No. 7736)
                                     Attorney for Defendant Roger Beaupre
                                     Preti, Flaherty, Beliveau & Pachios, LLP
                                     One City Center
                                     P. O. Box 9546
                                     Portland, ME 04112-9546
                                     tbryant@preti.com
                                     (207) 791-3000


                                     /s/ Keith R. Jacques
                                     Keith R. Jacques, Esq. (Bar #2962)
                                     Attorney for Defendant City of Biddeford



                                                                                         17108475.1
Case 2:16-cv-00053-LEW Document 171 Filed 02/17/21 Page 2 of 3      PageID #: 1567




                              Woodman Edmands Danylik Austin Smith & Jacques, P.A.
                              234 Main Street
                              P.O. Box 468
                              Biddeford, ME 04005
                              krj@woodedlaw.com
                              (207) 284-4581




                                                                           17108475.1
Case 2:16-cv-00053-LEW Document 171 Filed 02/17/21 Page 3 of 3                    PageID #: 1568




                                CERTIFICATE OF SERVICE

        I, Timothy Bryant, Esq., hereby certify that on February 17, 2021, I served the foregoing
City Defendants’ Notice of Appeal by using the CM/ECF system, which I understand will send
notification of the filing to the following:

Attorney for Lawrence Ouellette
Walter F. McKee, Esq.
McKee Law
133 State Street
Augusta, ME 04330
wmckee@mckeelawmaine.com

Attorney for City of Biddeford
Keith R. Jacques, Esq. (Bar #2962)
Woodman Edmands Danylik Austin Smith & Jacques, P.A.
234 Main Street
P.O. Box 468
Biddeford, ME 04005
krj@woodedlaw.com

Attorneys for Norman Gaudette
Gene R. Libby, Esq. and Tyler Smith, Esq.
Libby O’Brien Kingsley & Champion, LLC
62 Portland Road, Suite 17
Kennebunk, ME 04043
glibby@lokllc.com
tsmith@lokllc.com


Dated: February 17, 2021


                                             /s/ Timothy J. Bryant
                                             Timothy J. Bryant, Esq. (Bar No. 7736)
                                             Attorney for Defendant, Roger Beaupre
                                             Preti, Flaherty, Beliveau & Pachios, LLC
                                             One City Center
                                             P.O. Box 9546
                                             Portland, ME 04112-9546
                                             tbryant@preti.com
                                             (207) 791-3000




                                                                                          17108475.1
